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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   Eve Nevada, LLC,                        )   Case No.: 1:20-cv-475-DKW-KJM
                                           )   (Copyright)
                     Plaintiff,            )
      vs.                                  )   ORDER FOR GARNISHEE
                                           )   SUMMONS
   Corey R. Evans,                         )
                                           )
                     Defendant,            )
                                           )
     and                                   )
                                           )
   Navy Federal Credit Union               )
                                           )
                     Garnishee.            )
                                           )

                       ORDER FOR GARNISHEE SUMMONS

        The foregoing Ex Parte Motion is GRANTED and it is HEREBY ORDERED

  that Garnishee Summons issue according to law.

        IT IS SO ORDERED.

        Dated: Honolulu, Hawaii, May 25, 2022.




  ___________________________________________________________________
  Eve Nevada, LLC v. Corey R. Evans, Case No.: 1:20-cv-00475-DKW-KJM, ORDER

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